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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
                                 FOURTH DIVISION
 Granite Re, Inc., an Oklahoma corporation,
                                                          Case No. 19-CV-2832 PJS/ECW
                                     Plaintiff,

 vs.

 Northern Lines Contracting, Inc., a Minnesota
 corporation; Northland Dedicated, LLC, a                    MEMORANDUM OF LAW
 Minnesota limited liability corporation; BR                      IN SUPPORT OF
 Holdings, Inc., a Minnesota corporation; Blair           MOTION TO DISMISS UNDER
 J. Raitz, a Minnesota resident; and Faribault         FED. R. CIV. PRO. 12(B)(1) AND 12(B)(3)
 County, a political subdivision of the State of
 Minnesota,

                            Defendants.
______________________________________________________________________________
                                      INTRODUCTION

        On November 4, 2019, Granite Re, an Oklahoma corporation, filed a Complaint

against Faribault County seeking declaratory judgment on Granite Re’s obligation as surety

under certain performance and payment bonds. Granite Re also named as defendants the

contractor/principal and related entities: Northern Lines Contracting, Inc. (“Northern

Lines”); Northland Dedicated, LLC (“Northland”); BR Holdings, Inc. (“BR Holdings”);

and Blair J. Raitz (“Raitz”) (collectively, known as “Indemnitors”). All the Indemnitors

have their principal place of business in Minnesota.

        This alignment of parties, which creates diversity jurisdiction, enables Granite Re

to file in federal court, but it does not reflect the actual relationship of the parties. Between

Granite Re and the Indemnitors there is no present case or controversy on which to base a

suit. The Complaint alleges conflict between Granite Re and Faribault County, and


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between the Indemnitors and Faribault County, but nothing between Granite Re and the

Indemnitors that justifies the current alignment of parties. Therefore, Faribault County files

this Motion to place Granite Re and the Indemnitors where they belong, together as

plaintiffs, and Faribault County as the sole defendant. Ultimately, realignment will destroy

diversity and the case, which poses no other bases for federal jurisdiction, must be

dismissed for lack of subject-matter jurisdiction. Additionally, Granite Re has bound itself

to the Construction Contract between Faribault County and Northern Lines. That contract

requires litigation in Faribault County, therefore hearing the matter in this court is

improper.

                                          FACTS

         In April 2015, the Indemnitors executed an Agreement of Indemnity in favor of

Granite Re, holding them harmless from liability for losses or expenses incurred by reason

of Granite Re becoming surety for Northern Lines. Compl. at ¶¶ 9-10. This suretyship

related to a project and Contract Northern Lines entered with Faribault County in May of

2017. Compl. at ¶ 10. Justin Declaration, Exhibit 1. As part of that Contract, Granite Re

issued payment and performance bonds in the amount of $2,866,032.85, naming Northern

Lines as bond principal and Faribault County as obligee. Id. at ¶ 10.

         Northern Lines informed Faribault County in December 2018 that it had

substantially completed the project. Id. at ¶ 11. The following January, Faribault County

notified Northern Lines of inadequate performance and provided a punch-list of items for

completion. Id. at ¶ 12. After attempts to compel Northern Lines to finish the project failed,

Faribault County notified Northern Lines and Granite Re of its intention to declare a

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contractor default for breach of contract obligations. Id. at ¶ 19. Northern Lines then alleged

breach against Faribault County for failure to remit payments due under the contract for

work performed. Id. at ¶ 23.

         In September, 2019 Faribault County accepted a bid from another contractor to

finish the project. Id. at ¶ 24. Considering the extra cost of finishing the project as damages

arising from breach of contract by Northern Lines, Faribault County brought a claim

against Granite Re for $1,037,953.35—the cost of completion. Id. at ¶ 25. Granite Re

denied any obligation to pay Faribault County. Id. at ¶ 27.

         The Contract between Faribault County and Northern Lines consisted of a series of

documents, including General and Supplementary Conditions.               The Supplementary

Conditions contain modifications to the dispute resolution provisions set out in section 17

of the General Conditions. Section 17.01.D contains a forum selection clause stating that

any litigation arising from the Contract will be litigated in the district court of the county

in which the project is located. Justin Declaration, Ex. 2. The performance bond issued

by Granite Re is also part of the Contract. Section 1 of the Bond states that the Contractor

and Surety, jointly and severally, bind themselves to the Owner for performance of the

Construction Contract, which is incorporated herein by reference.         Justin Declaration,

Ex. 3.

                                    LEGAL STANDARD

         Granite Re seeks relief under the Declaratory Judgment Act, which permits the

federal courts to “declare the rights and other legal relations of any interested party seeking

such declaration.” 28 U.S.C. § 2201. The Act creates a statutory remedy only; it does not

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confer federal jurisdiction. Skelly Oil Co. v. Phillips Petroleum Co., 339 U.S. 667, 671

(1950). A party seeking relief under the Act must assert an independent basis for federal

jurisdiction. Id. Plaintiff asserts federal jurisdiction under 28 U.S.C. § 1332, diversity of

citizenship. Section 1332 requires that the amount in controversy exceeds $75,000.00 and

that the parties be completely diverse—that is, no plaintiff may be a citizen of the same

state as any of the defendants. See, e.g., Saunders v. Countrywide Home Loans of

Minnesota, Inc., 548 F. Supp. 2d 692, 693 (D. Minn. 2008).

         The alignment of the parties for diversity jurisdiction may be challenged, and

changed. The long-standing legal standard for that determination was set out by the United

States Supreme Court in City of Indianapolis v. Chase Nat. Bank of City of New York, 314

U.S. 63 (1941). There the Court laid out the governing principles for these decisions.

         To sustain diversity jurisdiction there must exist an ‘actual’, ‘substantial’,
         controversy between citizens of different states, all of whom on one side of the
         controversy are citizens of different states from all parties on the other side.
         Diversity jurisdiction cannot be conferred upon the federal courts by the parties’
         own determination of who are plaintiffs and who defendants. It is our duty, as it is
         that of the lower federal courts, to ‘look beyond the pleadings, and arrange the
         parties according to their sides in the dispute.’ Litigation is the pursuit of practical
         ends, not a game of chess. Whether the necessary ‘collision of interest’ exists, is
         therefore not to be determined by mechanical rules. It must be ascertained from the
         ‘principal purpose of the suit’, and the “primary and controlling matter in dispute’.

Id. at 69. (multiple citations omitted).

When determining whether and how to realign parties, Minnesota courts examine the facts

at the time of complaint for the existence of an actual conflict. Alliance Energy Services,

LLC v. Kinder Morgan Cochin LLC, 80 F. Supp. 3d 963, 972 (D. Minn. 2015). “[I]f there

is any actual and substantial conflict existing between the parties as aligned, the court



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should not realign them.” Id. (quotation and citations omitted). Formal designation of a

party is irrelevant:

           For purposes of testing the jurisdiction of a federal court on the basis of
           diversity of citizenship, it is immaterial how the parties may have been
           designated in the pleadings, since the court must align them for jurisdictional
           purposes on the basis of their actual legal interests and the apparent results to
           them, if the object sought to be accomplished by the litigation is successful.

Thomson v. Butler, 136 F.2d 644, 647 (8th Cir.), cert. denied, 320 U.S. 761 (1943), reh.

den., 320 U.S. 813 (1943). Also irrelevant for determination of actual and substantial

conflict are past ancillary or secondary conflicts that a party opposing realignment might

allege as a basis for diversity. The focus is not on these ancillary conflicts, but adversity

is to be determined by looking to the primary purpose or primary issue embraced by the

litigation. Polanco v. H.B. Fuller Co. 941 F. Supp. 1512, 1523 (D. Minn. 1996). (citing

Indianapolis v. Chase National Bank).

         In a case, such as the present one, where parties are arranged to acquire diversity

jurisdiction, realignment of parties to reflect actual conflict may result in a loss of complete

diversity, permitting the movant to seek dismissal of the action from federal court for lack

of subject-matter jurisdiction under Fed. R. Civ. P. 12(b)(1). Rule 12(b)(1) authorizes a

motion to dismiss a complaint for lack of subject matter jurisdiction. Federal courts are

courts of limited jurisdiction. See Steel Co. v. Citizens for a Better Env't, 523 U.S. 83

(1998). “The requirement that jurisdiction be established as a threshold matter spring[s]

from the nature and limits of the judicial power of the United States and is inflexible and

without exception.” Id. (quotation omitted). At all times, it is the burden of the party




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asserting jurisdiction to prove by a preponderance of the evidence that jurisdiction exists.

V. S. Ltd. P’ship v. Dep’t of Hous. and Urban Dev., 235 F.3d 1109, 1112 (8th Cir. 2000).

                                    LEGAL ARGUMENT

         A. Between Granite Re and the Indemnitors There Is no Actual and
            Substantial Conflict.

         The Complaint sets Granite Re, an Oklahoma corporation, against all the Minnesota

citizens designated—improperly—as defendants. This alignment of parties secures federal

jurisdiction, but does not reflect the actual alignment of interests in the suit. Proper

arrangement of parties would place the Indemnitors as plaintiffs alongside Granite Re,

leaving Faribault County as the sole defendant.

         On its face, the Complaint alleges no actual and substantial conflict between Granite

Re and the Indemnitors. At the heart of the Complaint is one controversy: the cross-

accusation of breach of contract between Northern Lines and Faribault County and the

denial of liability for damages flowing from the breach by Granite Re and the Indemnitors.

Northern Lines alleges that Faribault County breached their contract by refusing to remit

payments owed for work performed. Compl. at ¶ 23. Faribault County, in turn, alleges that

Northern Lines failed to finish the project adequately. Id. at ¶¶ 18-22. To complete the

project, Faribault County was forced to hire a second contractor, at a cost of over one

million dollars beyond the contract amount. Id. at ¶ 25. Both Northern Lines and Granite

Re deny any liability to Faribault County. Id. at ¶¶ 26-7.

         Furthermore, Granite Re and the Indemnitors share an interest in resolving the actual

conflict—the breach of contract—in the Indemnitor’s favor, against Faribault County. If



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the court finds that Faribault County breached its contract, and that the Indemnitors are not

liable, then Granite Re will not be liable for damages under the performance bonds. It is

not difficult to imagine how this case will look at trial. There will not be accusations by

Granite Re that Northern Lines breached the contract and therefore must reimburse Granite

Re for any payments.      Granite Re and Northern Lines will present a united front against

the County, and argue that Northern Lines never breached the contract. They will both

seek to lay all blame on the County. The best outcome for the Indemnitors is the best

outcome for Granite Re, which means that not only do Granite Re and the Indemnitors

have no conflict between them, but they share an interest in the same outcome of the actual

and substantial conflict that forms this suit.

         B. A Hypothetical or Future Conflict is Ancillary and Will Not Control Party
            Alignment.

         Granite Re has aligned Faribault County and Northern Lines as co-defendants in

this case—despite the fact that the County and Northern Lines are as adverse to each other

as possible. Potentially, given how a future court may construe the rights of the parties, a

case may arise between Granite Re and the Indemnitors if the contractors are found liable

for a breach of contract, but such contingent liability is irrelevant here: The actual and

substantial conflict test cannot be satisfied by the hypothesis of a future conflict. Alliance

Energy Services, LLC, 80 F. Supp. 3d at 972.

         Moreover, diversity of citizenship is assessed at the time the complaint is filed.

Freeport-McMoRan, Inc. v. K N Energy, Inc., 498 U.S. 426, 428 (1991). A party cannot

maintain diversity of citizenship on an alignment of interests that reflects a speculative


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future conflict. See Universal Underwriters Ins. v. Wagner, 367 F.2d 866, 871 (1966)

(observing that “[t]he question of realignment, involving jurisdiction, must be tested at the

time of filing of the complaint.”).

         Even if Granite Re could prove that the Indemnitors will be an adverse party after

further developments in the case, this has no bearing on diversity jurisdiction or on how

the parties should be arranged at the time of the filing of the Complaint. This court

addressed the issue squarely in Polanco v. H.B. Fuller Co., 941 F. Supp. 1512 (D. Minn.

1996). In Polanco, a Guatemalan citizen brought a wrongful death action against an

American glue manufacturer after her brother became addicted to, and died from, inhaling

the fumes of defendant’s product. Defendant argued that its Guatemala-based subsidiary

should be joined as an indispensable party, aligned against the plaintiff. Plaintiff rebutted

defendant’s argument on the grounds that a potential conflict may arise between the

American company and its Guatemalan subsidiary for contribution. The court

acknowledged the possibility of a claim, but found it “merely ancillary to the underlying

purpose of the suit.” Id. at 1523. As a consequence, the court held the Guatemalan entity

must be joined as co-defendant with its parent company and diversity destroyed. The court

dismissed the suit.

         Another court, facing circumstances almost identical to ours, reached the same

conclusion. In Federal Ins. Co. v. Bill Harbert Const. Co., 82 F. Supp. 2d 1331 (S.D. AL.

1999), plaintiff Federal Insurance, a surety, brought suit under the Declaratory Judgment

Act against a contractor principal and a municipal obligee, Mobile’s Board of Water and

Sewer Commissioners (the “Board”), seeking determination of no liability under bond

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obligations for breach of contract. Id. The Board moved to realign the parties on the

grounds that the actual conflict lay between the Board and the contractor—the parties

asserting breach of contract claims against one another. Id. at 1332. On that issue, the surety

and the contractor were aligned. Id. In response, the surety argued that the parties should

stay as pleaded, because a potential conflict may arise with the indemnifying contractor

should the court find in the Board’s favor regarding breach of contract. The court held that

ancillary issues cannot control the alignment of the parties:

           [The court] acknowledges that [contractor’s] possible duty to indemnify
           [surety] at some point in the future could create an actual dispute between
           these parties. That dispute, however, is merely secondary to the primary
           issue in this declaratory judgment action, which is whether … the Board
           wrongfully breached its contractual obligations to [contractor] during the
           course of the construction projects.

Id. at 1337-8. Secondary, or ancillary, conflict is insufficient to permit an alignment of the

parties that ignores the actual dispute existing at the time of the filing of the Complaint.

The court realigned the parties and dismissed for lack of jurisdiction. Id. at 1338.

         Potential controversy between Granite Re and the Indemnitors is “merely ancillary”

to the primary dispute of liability for breach of contract between Northern Lines and

Faribault County. Applying the teaching of Polanco and Federal Ins. Co, this Court should

realign the parties, without consideration for ancillary issues, to reflect the true conflict.

After doing so, the court will no longer have jurisdiction over the parties and the case must

be dismissed.




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       C. Venue in this court is improper because Granite Re has bound itself to the
          Construction Contract’s forum selection clause.

       “Forum selection clauses are prima facie valid and are enforced unless they are

unjust or unreasonable or invalid for any reasons such as fraud or overreaching.” M.B.

Rests. Inc. v. CKE Rests. Inc, 183 F.3d 750, 752 (8th Cir. 1999). A valid forum selection

clause is entitled to “controlling weight in all but the most exceptional cases” because it

“represents the parties’ agreement as to the most proper forum and federal courts have a

strong policy of enforcing such clauses. Atl. Marine Constr. Co. v. U.S. Dist. Court for the

W. Dist. of Tex., 571 U.S. 49, 62-66 (2013). Even in cases where a third party has not

signed a forum selection clause “a non-party to a contract can be held bound by the

contract’s forum selection clause when that non-party is ‘closely related’ to the dispute

such that it becomes ‘foreseeable’ that [the non-party] will be bound.” ARP Wave, LLC v.

Salpeter, 364 F.Supp.3d 990, 995 (D. Minn. 2019), citing, Marano Enters. Of Kan. v. Z-

Teca Rests, L.P, 254 F.3d 753, 757 (8th Cir. 2001); Medtronic v. Endologix, Inc., 530

F.Supp.2d 1054 (D. Minn. 2008) (same).

       In the present matter, the contract between Northern Lines and Faribault County

consisted of several documents, including a set of Supplementary Conditions.        Section

17.01 of those Conditions deals with dispute resolution. Section 17.01.D states that “Any

litigation concerning claims under the Contract shall be venued in the County District Court

of the County the project is located within.” This provision requires any dispute be venued

in state court in Faribault County. This venue provision is binding on Granite Re as well




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as Northern Lines. The Performance Bond issued by Granite Re contains various promises

and procedures. Section 1 of the Bond states as follows.

         The Contractor and Surety, jointly and severally, bind themselves, their heirs,
         executors, administrators, successors, and assigns to the Owner for the performance
         of the Construction Contract, which is incorporated herein by reference.

It is significant that the Surety is not binding itself to just the performance of the

construction project, it is binding itself to the contract, which is incorporated in the bond.

The dispute resolution procedures are as much a part of the Construction Contract as are

the promises to pay and perform. Therefore, by binding itself to the Construction Contract,

it also has bound itself to the dispute resolution mechanism set out in the Contract. Even

if Granite Re had not expressly bound itself to performance of the Contract, which it did,

it would be properly bound by it as a closely related third party. See, ARP Wave. However,

that analysis is not needed as Granite Re incorporated the Contract into its bond. That

Contract requires litigation to occur in Faribault County and this case should be dismissed

to allow the litigation to proceed in the forum the Owner, Contractor, and Surety all agreed

upon.

                                        CONCLUSION

         In the consideration of diversity jurisdiction, the federal courts have been especially

parsimonious:

           The dominant note in the successive enactments of Congress relating to
           diversity jurisdiction is one of jealous restriction, of avoiding offense to
           state sensitiveness, and of relieving the federal courts of the overwhelming
           burden of business that intrinsically belongs to the state courts' in order to
           keep them free for their distinctive federal business.




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City of Indianapolis v. Chase Nat. Bank of City of New York, 314 U.S. 63, 76 (1941)

(quotation omitted). Granite Re has attempted to establish diversity jurisdiction by an

alignment of parties that ignores actual and substantial conflicts existing at the time of the

filing of the Complaint between the parties in favor of an alignment that secures diversity

jurisdiction and a hearing in federal court. But the law does not permit such convolutions.

Granite Re and the Indemnitors belong together, as plaintiffs, against the only adverse

party, Faribault County. We ask the court to align the parties properly and then to dismiss

the case under Fed. R. Civ. P. 12(b)(1) for lack of subject-matter jurisdiction.

Alternatively, we request the court to dismiss the case because it is improperly venued

based on the forum selection clause.

         Dated: January 3, 2020

                                                  RINKE NOONAN



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